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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

M. SHANE HAMILTON, derivatively on behalf )
of SAEXPLORATION HOLDINGS, INC.,          )
                                          )
                                          )
           Plaintiff,                     )               C. A. No. 19-1671-MN
                                          )
           v.                             )
                                          )
JEFF HASTINGS, BRIAN A. BEATTY, BRENT )
WHITELEY, L. MELVIN COOPER, GARY          )
DALTON, MICHAEL FAUST, MICHAEL            )
                                          )
KASS, ALAN B. MENKES, and JACOB           )
MERCER,                                   )
                                          )
           Defendants,                    )
                                          )
           and                            )
                                          )
                                          )
SAEXPLORATION HOLDINGS, INC.,             )
                                          )
           Nominal Defendant.             )


                 STIPULATION AND [PROPOSED] ORDER REGARDING
                 STAY OF CASE PENDING RESOLUTION OF MOTIONS
                     TO DISMISS RELATED SECURITIES ACTION

       WHEREAS, on August 18, 2019, a putative securities class action lawsuit captioned Bodin

v. SAExploration Holdings Inc., et al., Case No. 4:19-cv-03089 (the “Securities Class Action”),

was filed in the U.S. District Court for the Southern District of Texas alleging violations of the

federal securities laws against certain of the defendants in the above-captioned action and based

on related factual allegations;

       WHEREAS, on September 6, 2019, M. Shane Hamilton (“Plaintiff”) filed this putative

stockholder derivative action (the “Action”) on behalf of Nominal Defendant SAExploration

Holdings, Inc. (“SAExploration” or the “Company”), asserting claims against L. Melvin Cooper,

Michael Faust, Alan B. Menkes, Michael Kass, Jacob Mercer, Jeff Hastings, Brian A. Beatty, and
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Brent Whiteley (the “Individual Defendants” and, together with the Company, “Defendants”) for

violation of Section 14(a) of the Securities Exchange Act of 1934, breach of fiduciary duty, unjust

enrichment, and corporate waste;

          WHEREAS, the parties to this Stipulation agree that a stay of this Action pending

resolution of any motions to dismiss directed at the pleadings in the Securities Class Action is

appropriate in that it will avoid inefficiencies and duplicative efforts and will better preserve the

resources of the Court and the parties;

          IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiff and Defendants,

individually or by their undersigned counsel, subject to approval of the Court, as follows:

          1.    Defendants hereby accept service of the complaint, provided, however, that no

defense of any of the Defendants to the claims in this Action, including, but not limited to, defenses

based upon lack of personal jurisdiction or subject matter jurisdiction, lack of standing, improper

venue, arbitration, or a defendant having been improperly named, is prejudiced or waived by the

execution of, agreement to, or filing of this stipulation. All defenses and claims are hereby

reserved.

          2.    The proceedings in this Action shall be temporarily stayed pending resolution of

any motions to dismiss directed at the pleadings filed in the Securities Class Action; the stay shall

remain in effect until the later of thirty (30) calendar days after the dismissing with prejudice the

Securities Class Action or denying any part of any motion to dismiss (the “Stay Termination

Date”).

          3.    Plaintiff may amend his stockholder derivative complaint, but Defendants are not

required to respond to any complaint in this Action during the pendency of the stay.




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        4.      Counsel for SAExploration will notify Plaintiff’s counsel within twenty (20)

calendar days of receipt if any other stockholder derivative proceedings based on the same or

similar set of factual allegations as alleged in this Action are initiated or threatened, including if a

summons and complaint are purportedly filed on behalf of SAExploration, or if a stockholder

makes a demand for inspection of documents. In the event that any documents are produced,

written discovery is exchanged, or depositions are taken in response to any such stockholder

proceeding or demand, Defendants shall produce the same documents, written discovery, or

deposition transcripts to Plaintiff within twenty (20) days of such production, but only if Plaintiff

has entered into a confidentiality agreement acceptable to Plaintiff and SAExploration with

SAExploration and/or the Individual Defendants, unless otherwise not allowed by the court.

Subject to Defendants’ objections, which are expressly reserved, and subject to the protective order

that the parties shall enter in this Action, it shall be as if such discovery also is produced in this

Action. Nothing in this stipulation shall limit Defendants’ rights to contest or object to discovery

in any action or proceeding.

        5.      The parties shall have thirty (30) days from the Stay Termination Date to negotiate

a briefing schedule to govern Defendants’ deadline to answer, move, or otherwise respond to the

operative complaint in this Action, and, to the extent a motion is filed, any responses and replies

in relation thereto. Any conferences currently scheduled shall be postponed until thirty (30) days

after the Stay Termination Date.

        6.      In the event any other stockholder derivative proceedings are initiated on behalf of

SAExploration based on the same or similar set of factual allegations as alleged in this Action,

counsel for SAExploration shall notify Plaintiff if such actions are not stayed for a similar or longer

duration than this stay. Upon the denial of any motion to stay such an action or if the parties to




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such an action do not file such a motion, Plaintiff shall have the option to lift this stay by giving

thirty (30) days-notice to counsel for Defendants via email.

        7.     Any party may move the Court to lift the stay before it expires on its own terms,

upon a showing of good cause.

        8.     If during the pendency of the stay the parties conduct a mediation in an effort to

settle the Securities Class Action or any other stockholder derivative proceedings initiated on

behalf of SAExploration based on the same or a similar set of factual allegations as alleged in this

Action, counsel for SAExploration shall provide Plaintiff’s counsel with reasonable notice of said

mediation and shall request of the other parties that Plaintiff be included in said mediation. If the

other parties to the mediation do not consent to Plaintiff’s participation, Defendants shall mediate

separately with Plaintiff within thirty (30) days of the mediation.

        9.     After the stay is lifted, Defendants shall not move to stay this Action in deference

to another stockholder derivative proceeding initiated on behalf of SAExploration based on the

same or a similar set of factual allegations as alleged in this Action.

Dated: November 11, 2019                           Respectfully Submitted,


/s/ Brian E. Farnan                                /s/ Jason J. Rawnsley
Brian E. Farnan (Bar No. 4089)                     Gregory P. Williams (Bar No. 2168)
Michael J. Farnan (Bar No. 5165)                   Jason J. Rawnsley (Bar No. 5379)
FARNAN LLP                                         Andrew J. Peach (Bar No. 5789)
919 N. Market Street, 12th Floor                   RICHARDS LAYTON & FINGER, P.A.
Wilmington, Delaware 19801                         One Rodney Square
(302) 777-0300                                     920 King Street
bfarnan@farnanlaw.com                              Wilmington, Delaware 19801
mfarnan@farnanlaw.com                              (302) 651-7700
                                                   williams@rlf.com
-and-                                              rawnsley@rlf.com
                                                   peach@rlf.com
THE BROWN LAW FIRM, P.C.
Timothy Brown                                      -and-
240 Townsend Square



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Oyster Bay, New York 11771             SIDLEY AUSTIN LLP
(516) 922-5427                         Yvette Ostolaza
tbrown@thebrownlawfirm.net             Yolanda C. Garcia
                                       Barret V. Armbruster
Attorneys for Plaintiff                2021 McKinney Avenue, Suite 2000
                                       Dallas, Texas 75201
                                       (214) 981-3300
                                       yvette.ostolaza@sidley.com
                                       ygarcia@sidley.com
                                       barmbruster@sidley.com

                                       Attorneys for Nominal Defendant
                                       SAExploration Holdings, Inc. and Defendants
                                       L. Melvin Cooper and Alan B. Menkes


                                       /s/ Michael Faust
                                       Michael Faust


                                       /s/ Gary Dalton
                                       Gary Dalton


                                       /s/ Jonathan M. Kass
                                       Jonathan M. Kass (Bar No. 6003)
                                       Offit Kurman P.A.
                                       1201 North Orange Street
                                       Wilmington, Delaware 19801
                                       (302) 351-0919
                                       jonathan.kass@offitkurman.com

                                       Attorney for Defendant Michael Kass


                                       /s/ Jacob Mercer
                                       Jacob Mercer


                                       /s/ James M. Yoch, Jr.
                                       James M. Yoch, Jr. (Bar No. 5251)
                                       YOUNG CONAWAY STARGATT
                                         & TAYLOR, LLP
                                       Rodney Square
                                       1000 North King Street
                                       Wilmington, Delaware 19801



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                                         (302) 571-6600
                                         jyoch@ycst.com

                                         -and-

                                         VINSON & ELKINS LLP
                                         Jeffrey S. Johnston
                                         James L. Leader, Jr.
                                         1001 Fannin Street
                                         Suite 2500
                                         Houston, Texas 77002
                                         (713) 758-2222
                                         jjohnston@velaw.com
                                         jleader@velaw.com

                                         Attorneys for Jeff Hastings


                                         /s/ Brian A. Beatty
                                         Brian A. Beatty


                                         /s/ Brent Whiteley
                                         Brent Whiteley




SO ORDERED this ________ day of _____________, 2019,



                                         ___________________________________
                                         HONORABLE MARYELLEN NOREIKA
                                         UNITED STATES DISTRICT JUDGE




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